Case 2:05-cv-02151-BBD-dkv Document 30 Filed 08/18/05 Page 1 of 2 Page|D 23

IN THE UNITED sTATEs DISTRICT coURT F"'E° BY ~~ D»C'
FoR THE WESTERN DISTRICT oF TENNESSEE 05 AUG l 8

CASE No. 05-2151-Dv H "" 03
TERRENCE MCFADGON_, on behalf of ) G_EMW;%AS-]§TFQWDM
themselves and all others slmllarly situated, ) W/D O;: pie ;`,.;Ei‘;ipj_ns
Plaintiff, §
v. § Case No.: 05-2151-DV
THE FRESH MARKET, INC., §
Defendant. §

 

ORDER GRANTING CONSENT MOTION TO CONTINUE
RULE 16(b) SCHEDULING CONFERENCE

Having reviewed and considered Defendant’s Consent Motion to Continue Rule
16(b) Scheduling Conference and supporting memorandum, the Court finds that there is
good cause to continue the Rule 16(b) Scheduling Conference set for August 25, 2005 at
9:30 a.m. and the Court hereby grants the motion to continue the conference to the date of
Septernber 20, 2005, at 9:30 a.m. The joint proposed scheduling order will be submitted
no later than five (5) working days prior to the scheduling conference

lq
DATED this 1/7ilay of Augusr, 2005.

/@\/LW L/. %a,W/'

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

Thls document entered on the docket heat |n compliance

with nme se and/or re(a) FncP en ' l

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:05-CV-02151 was distributed by faX, mail, or direct printing on
August 19, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

